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                        Exhibit C

              [November 7, 2014 Resolutions]




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ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC (“EFIH”)
BOARD OF MANAGERS RESOLUTIONS
NOVEMBER 7, 2014

  WHEREAS, Energy Future Holdings Corp. (“EFH Corp.”) and certain of its direct and indirect
  subsidiaries (excluding Oncor Electric Delivery Holdings Company LLC and its subsidiaries) (the
  “Debtors”) on April 29, 2014, filed voluntary petitions for relief under chapter 11 of title 11 of the
  United States Code (the “Chapter 11 Case”) in the Bankruptcy Court for the District of Delaware (the
  “Bankruptcy Court”);

  WHEREAS, the members of the Board have acknowledged that the material facts relating to the
  relationships or interests of other members of the Board with other affiliated or related companies
  and other material relationships have been disclosed to them or are otherwise known to them, as
  contemplated by Section 144 of the Delaware General Corporation Law (the “DGCL”) or EFIH’s
  governing documents, to the extent applicable;

  WHEREAS, as described in the material presented and reviewed by the Board and based on the
  known facts and circumstances, Charles H. Cremens as the member of the Board who is disinterested
  (within the meaning of Section 144 of the DGCL or EFIH’s governing documents, to the extent
  applicable) (the “Disinterested Manager”);

  WHEREAS, the members of the Board of Managers of EFIH (the “Board”) have considered the
  Stipulation and Agreed Order Regarding a Protocol for Certain Case Matters, approved by the Bankruptcy
  Court on September 16, 2014, concerning, among other things, the ability of the Disinterested
  Manager to retain independent counsel and other advisors for EFIH under certain circumstances; and

  WHEREAS, the members of the Board desire to delegate certain authority to the Disinterested
  Manager.

  NOW, THEREFORE, BE IT,

  RESOLVED that the Board hereby determines that Charles H. Cremens as a member of the Board is
  currently disinterested (within the meaning of Section 144 of the DGCL or EFIH’s governing
  documents, to the extent applicable) with respect to the Conflict Matters (as defined below); and
  further

  RESOLVED that the Board hereby delegates authority to the Disinterested Manager to engage
  independent legal counsel and such other advisors as he deems necessary to represent and advise
  EFIH, reporting to the Disinterested Manager, on matters pertaining to the Chapter 11 Case on
  which a conflict exists between EFIH and any other Debtor (the “Conflict Matters”); and further

  RESOLVED that the Board hereby requests that the Disinterested Manager review Conflict Matters
  identified by the Disinterested Manager (and his advisors) and make such recommendations to the
  Board as the Disinterested Manager deems appropriate, in the exercise of his business judgment
  and with the advice of independent legal counsel and other applicable advisors; and further

  RESOLVED, that any officers of EFIH (collectively, the “Authorized Officers”), acting alone or with
  one or more other Authorized Officers be, and they hereby are, authorized, empowered and directed
  to take any and all action that they deem necessary or proper to assist the Disinterested Manager in
  carrying out the foregoing.

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